6/12/2020               Case 4:20-cv-00769-BSM
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            1Pro Se 2 (Rev   12/16) Complaint and Request for Injunction                                                              EAS'tt.RN DISTFUCT ARKANSAS .

                                                                                                                                               JUN 1 9 2020
                                                    UNITED STATES DISTRICT COURT
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                                                                                   District of                                   '/                                 DEPCLERK

                                                                                       Division

                                                                                       )         Case No.
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                                                                                       )
                                                                                                            (to be filled in by the Clerk's Office)

                                          Plaintiff(s)
            (Write the full name of each plaintiff who is filing this complaint.       )
            If the names of all the plaintiffs cannot fit in the space above.          )
            please wTite ··sec attached" in the space and attach an additional         )
            page with the full list of names.)
                                                                                       )
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                                                                                        )          This case assigned to District Judge                   MiU<c.r-
            C.. "'-v-16 roy,~ev-- <;eorr S TVw>~et<.                                   )
                                                                                                   and to Magistrate Judge                     l4a,rtQ x--,,tQ
                                          Dcfcndant(s)                                 )
            (Write the full name of each defendant who is being sued. If the           )
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            with the full list of names.)                                              )
                                                                                       )



                                                COMPLAINT AND REQUEST FOR INJUNCTION

             I.       The Parties to This Complaint
                      A.          The Plaintiff(s)

                                  Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                                  needed.

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                       B.         The Defendant(s)

                                  Provide the information below for each defendant named in the complaint. whether the defendant is an
                                  individual, a government agency, an organization. or a corporation. For an individual defendant,
                                  include the person's job or title (ifknown). Attach additional pages if needed.
                                   n,.f,mrl,mt Nn 1
                                             N;am,,



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6/12/2020                 Case 4:20-cv-00769-BSM
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            1Pro Se 2 (~v. 12/16) Complaint and Request for Injunction

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            II.       Basis for Jurisdiction

                       Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
                       heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
                       parties. Under 28 U .S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
                       is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
                       another State or nation and the amount at stake is more than S75.000 is a diversity of citizenship case. In a
                       diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

                       What is the basis for federal court jurisdiction? (ch«k.all 1ha1 apply)
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                                                                                                                                                Page   ·or 6




            1Pro Se:! ·(Re,·. l:!/16) Complain! and Requesl for lnjunc1ion

                       Fill out the paragraphs in this section that apply to this case.
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                                                               - gtclarkboys@yahoo.com          Page 3 of 87
                                                                                       - Yahoo Mail


                       A.          If the Basis for Jurisdiction Is a Federal Question

                                   List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                                   are at issue in this case.                                      ·




                       B.          If the Basis for Jurisdiction Is Diversity of Citizenship

                                . _L ____ .The..Plaintiff(s) _. _

                                              a.         If the plaintiff is an insijvidual
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                                              (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                              same infonnation for each additional plaintiff.)

                                   2.         The Defendant(s)

                                              a.         If the defendant is an individual
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                                              (if more than one defendant is named in the complaint, attach an additional page providing the
                                              same infonnation for each additional defendant.}

                                   3.         The Amount in Controversy

                                              The amount in controversy the amount the plaintiff claims the defendant owes or the amount at
                                              stake.=is more than $75,000, not counting interest and costs of court, because (explain):
                                              Ptnr/\
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                 Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 4 of 87



                                          Paladin Counseling Services, LLC
                                               401 Main St, Suite 204
                                            North Little Rock, AR 72114
                                                  (501) 707-4146


... ___ Mr..George Clark.
        3907 Hillside Dr.
        North Little Rock, AR 72118

    Dear Mr. Clark,

    Per your request, I'm providing you with a summary of care and progress notes to be used at your
    discretion.

    Presenting complaint:

    Mr. Clark was initially referred to this author by his EAP. He was experiencing increased stress in his
    workplace due to his supervisor. This individual was his supervisor on a previous occasion and was
    removed after Mr. Clark registered a substantiated grievance against him. Having this same supervisor
    again was particularly distressing because Mr. Clark feared reprisal from his supervisor. The supervisor
    had been admonished and removed from his position as a result of substantiated grievance.

    Diagnosis:

    Adjustment Disorder with anxiety

    Interventions:

    From April 25 to November 20, 2019 this author provided supportive counseling and assistance with
    problem solving during 11 sessions attended by Mr. Clark. A cognitive-behavioral approach was also
    utilized in symptom relief. The goal of care was generally to alleviate feelings of anxiousness Mr. Clark
    was experiencing.

    Follow up recommendations:

    At the Mr. Clark's discretion.

    Prognosis:

    Good




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                             vices, LLC
                    Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 5 of 87
                                                                Progress Note

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techniques/ p ·


Response to intervention· Client                      ve / Client seemed ambivalent/ Client seemed resistant/ Other:


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directed?   ¥
congruent?~- S M ~ ENDORSED current SI/HI. Thought content WNL? J__;rhought process was linear and goal-
                lnsight and judgment intact?7 Other observations: ______
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A: See intake for static risk factors.
1 Change in risk [actors 1 fu)    o~
2 Change in protective factors?~ O R - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
3 Current suicide risk level· a. Not ct~linically significant risk/ b. Currently at clinically significant risk, but NOT
imminent/ c. Currently a cli 1ically significant risk, IMMINENT
Change in diagnoses? ·       ,7'Jdw~ DI g,,yd-<.,-- -Z /) 'CJ >(d-- ry
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                                                                        See intervention listed above

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1-Signiticantly improved 2-Somewhat Improved 3-No change 4-Somewhat worse 5-Significantly worse C-Completed D•Dropped
                       Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 6 of 87
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lntervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques/ prpbl~ng / s u p ~ · a p y / crisis response planning/ psychoeducation /Consultation/ Other:


Response to intervention· Client s : ~ e / Client seemed ambivalent/ Client seemed resistant/ Other:


.Q:. Ct. presented well-groomed and appropriately dressed?                ...Y.   Normal speech and motor activity?~- Affect and mood
congruent?+· S ~ / ENDORSED current S1/H I. Thought content, 'NL?¥ Thought process was linear and goal-
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A: See intake for static risk factors.
1 Change in risk Factors@OR _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
2 Change in protective factors'Q)OR _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

3 Current s11icicie risk level· a. N o ~ clinically significant risk/ b. Currently at clinically significant risk, but NOT
imminent/ c. Currently at clinically significant risk, IMMINENT
Change in diagnoses?~R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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lntervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques/ problem s o ~ l f i ~ · a p y / crisis response planning/ psychoeducation /Consultation/ Other:


Response to jnteryentjmr C l i ~ e / Client seemed ambivalent/ Client seemed resistant/ Other:


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A;. See intake for static risk factors.
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ln_tervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques / p r o J ~ ~ a p y / crisis response planning/ psychoeducation /Consultation/ Other:


Response to intervention: C l i e ~ p t i v e / Client seemed ambivalent/ Client seemed resistant/ Other:


O: Ct. presented well-groomed and appropriately dressed? -YNormal speech and motor activity?'¥-. Affect and mood
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3. Current suicide risk level: a. N currently     mically significant risk/ b. Currently at clinically significant risk, but NOT
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Change in diagnoses?~R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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S: Date of session:   OfiftLJb-, la~ Time ofSession: /.W.Q.--                       /@client:        G.e.esvd~ C(O-.J-{'-,
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lntervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques~g /                            ~/                  crisis response planning/ psychoeducation / Consultation/ Other:


Response to intervention: C ~ e / Client seemed ambivalent/ Client seemed resistant/ Other:


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congruent?~- S M ~ / ENDORSED current SI/HI. Thought content WNL? JThought process was linear and goal-
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A: See intake for static risk factors.
1. Change in risk factors? ~ R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

2. Change in protective factors@R                                                                          ·
3. Current suicide risk level: a. ~ n i c a l l y significant risk/ b. Currently at clinically significant risk, but NOT
imminent/ c. Currently at clinically significant risk, IMMINENT
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lntervention(s): co              eha · ·al techniques/ cognis·,<c pt ocessmg techniques/ motivational interviewing
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Response to intervention: Clie~~ 1 ~ / Client seemed ambivalent/ Client seemed resistant/ Other:·


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A: See intake for static risk factors.
1. Change in risk factors? ~ R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
2. Change in protective factors?~>R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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Change in diagnoses~R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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1-Signlticantly improved 2-Somewhat Improved 3-No change 4-Somewhat worse 5-Signiticantly worse C-Completed D-Dropped
                                  Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 11 of 87
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S:. Date of session:              7._   ::> :SVVl/~j Time of Session: lt~ro __ l ?c'Vclient:
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 lntervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques / problem solving/~ P Y / crisis response planning/ psychoeducation / Consultation/ Other:


 Response to i n t e r v e n t i o ~ ~ i v e / Client seemed ambivalent/ Client seemed resistant/ Other:


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directed? 1/lnsight and judgment intact?_                                            ther observations:


A: See intake for static risk factors.
1. Change in risk factors?fi~>R _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

2. Change in protective facto;ie)a 0 ~ = = = - - - = - - - - - - - - - - - - - - - - - - - - - - - - " - - - - - -
3. Current suicide risk level: a. Not C\tt.l:filll!4l~-et1n1cally significant risk/ b. Cui:r.entlµ.t-ciiHfoaHy-sigtltfteaflt-i:isk.-buLNOT
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Change in diag11oses? / OR _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
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                                        Treatment oals:



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                                                                     -No change 4-Somcwhat worse 5-Significantly worse C-Completcd D-Droppcd
                       Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 12 of 87
                                                                        Progress Note

S: Date of session:     os Sv vJ             l,t) (   ~   Time of Session:   M-- f1v0            Client:     6.e..ev-71.e.,, (j ~ k.. . .
                                                                     Content of session:
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      CJ:!<           uv:--c!&S-h;,,__ ,S-r'16) 0 .C. '.;,•~+; DL--t, '9~




lntervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques / ~ 1 g / s ~ · a p y / crisis response planning/ psychoeducation / Consultation/ Other:


Response to intervention: Client seemed receptive/ Clie~mb~lent / Client seemed resistant/ Other:


0: Ct. presented well-groomed and appropriately dressed~. Normal speech and motor activity?                               _::j_. Affect and mood
congruent? .:=j_. SM@/ ENDORSED current SI/HI. Thought content WNL? -¥Thought process was linear and goal-
directed?   7"'   ~nsight and judgment intact?~ Other observations:                       ~4 ,~                                           .
A: See intake for static risk factors.
1. Change in risk factors?@m _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
2. Change in protective factors?~OR _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
3. Current suicide risk level: a. Not ~ y at clinically significant risk/ b. Currently at clinically significant risk, but NOT
imminent/ c. Currently at clinically significant risk, IMMINENT
Change in d i a g n o s e s ? ~ R - - . - - - - - - - - - - = - - - - - - - - - - - - - - - - - - - - - - - -
P: Nextsession date:½                -:JJW 1,1)\~          time:   t\,OU
                                                                                                                                              Progress
                             Treatment oals:                                                       Intervention s :

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                                                                      cwhat worse 5-Signific:antly worse C-Complctcd 0-Droppcd
                    Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 13 of 87
                                                               Progress Note

S: Dateofsession:     2 L.iJ.J\L-{1Dl~ Time of Session:~-- (100 Client: 6e.{;>./f:/2- (_ la,/~...._
                                                             Content of session:




Intervention(s): cognitive-behayiora) techniques/ cognitive processing techniques/ roativatiana) jnterv..ie.wing._
techniques / p ~ supportive therapy/ 9'.isis response planning/ ~hoeducation / Consultation/ O t ~


Response to intervention: Client seemed receptive / @t seemed a~lent / Client seemed resistant/ Other:


0: Ct presented w ~ e d and appropriately dressed?                -1-· Normal speech and motor activity?-/-, Affect and mood
congruent?        . S M ~ / ENDORSED current SI/HI. Thought content W L? ~Thought process was linear and goal-
directed?     . Insight and judgment intact.         . Other observations: _A/_~_,____________________


A: See intake for static risk factors.
1. Change in risk factors? ~OR                                               ·

2. Change in protective factors?~~O~R~:::c.;;::::::-------------------------------
3. Current suicide risk level: ~e~ clinically significant risk/ b. Cm:r.ently-at-einieally significant risk, but-NOT
i m ~ ~ J j n j c a ) ) y significant risk, IM M I N E ~
Change in diagnoses~R ____________________________________
P: Next session date:    oif\JVJ U> 19            time:   l bo·D
                           Treatment oals:                                                     Inteiventlon s :        Pro ress:


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                                                                                       t   '

1-Significantly improved 2-Somewhat Improved 3-N change 4-Somewhat worse 5-Signlficantly worse C-Completed D-Dropped
                      Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 14 of 87

                                                                    Progress Note

S: Date of session:   Dt.t1,A~(~(~           TimeofSession:~--                      f1c'V     Client:   c~e.c>v·½ ( (A/!c.c
                                                            Content of session:




·1ntervention(s): cognitive-behavioral techniques/ cognitive processing techniques/ motivational interviewing
techniques/ problem solving~ y / crisis response planning/ psychoeducation / Consultation / Other:


Response to interventi~n:-~ive / Client seeme~ ambivalent/ Client seemed resistant/ Other:


0: Ct pre e ted well-groomed and appropriately dressed?               ..1f.Normal speech and motor activity?:J_. Affect and mood
congruen --r••·•Bf=-E-N.J:>&RSED current SI/HI. Thought content WNL?                           ::J
                                                                        Thought process was linear and goal-
directed? _ . nsight and judgment intact?_. ther observations: ______,_/_ _ _ _ _ _ _ _ _ _ _ _ _ __


A: See intake for static risk factors.
1. Change in risk factors? n/a OR_--1,,.::.....:p..J;;Jr<--,-----------------------------
2. Change in protective factors? n/:.:;a~...._=-_.,_N~-,-¥=--------------------------
3. Current suicide risk level:     ot current!     t clinically significant risk/ b. Cnt'rently"atclifficalty'Stgnifrcant risk;bu-t-~
iI!)m-i-ne~y at c l i n i c a ~ M M ~
Change in diagnoses? n/a OR _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
P: Next session date:     ( 6C )l)               time: \    t...,    A~. A'""/   'l. 0 \ (\
                          Treatment oals:                                                        Intervention s :          Pro ress:



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                                                 change 4-Somewhat worse 5-Significantly worse C-Completed D-Dropped
                     Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 15 of 87




Therapist and client reviewed intake paperwork. Client was given Notice of Privacy Practices (NPP), Policies and Information
(P&I) and Consent to Treatment (CT) forms. Client agreed to proceed with intake, acknowledged receipt of the above
information, voiced understanding and signed NPP, P&I and CT forms.
     // -f                                            Presenting complaint:                                  '-\.


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Medical bx:                                            1\A.
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Family psychiatric hx:_-::!-~+.-:-:;...._:;...i.;;:,-e..""-"'d--:;....__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Family medical hx:      !) ~ C . . d..

Social hx (drugs, ETOH, caffeine, nicotine): -~t~uJ.J,:::.:..:::::::::....___.!~~~=+--1---!:!,,.-~:.....::t-J.i!.-'-',..__~~a:...---
  2- 3             ~~            s




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                    Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 16 of 87
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Occupational/educational and financial hx:           ~ C                       <2 (   I e.e,..e . /    k1 L:c.J v        (._fk:}       f!-c_;...,,..,.
     /7}~        i.e,_       ptro½~                           :C::       ~ e _ _ ....._,'15-"U v=         J       I   ~'---f ,C'-;e    {\.\,


0: Ct presented we~~-groomed and appropriately dressed?~- Normal speech and motor activity?~- Affect and mood
congruent?       ~ _s~_/ END~RSED ~urrent SI/HI. Thought content WNL?                       '-rhought proc~ss was linear and goal-
directed?      . Insight and judgment intact? *ther observations:              --,_..,-.H;<-J/.'-1~>=>.:------------------

A: Warning signs (circle): current SI, CUI I ent HI, access to lfieans,e,.aoge--r,~gitatio-n, ~increased A&D, loss,
giying away heloi:lgings, impttlsivity, no perceived reason fer living, no sense of purpose, seeking access co means, Isolation;-~
Other:   .,Al A--
Current/static risk factors (circle): thwarted belongingness perceived bmdensomen-ess,.acq1c1ired capabi-H-t.y-for-s-~
do.mestic violence, substance abt1se, legal problems, financiaJ-probl~ack of social s1:1pports, ~x trat1ma/abt1se, hx ef~
~ . , . ~""'."• hx "'"'"""""' attempts, f>mUy i.. of ,ai,idof<vici~Ecatt~l-men,.I illness, bx uFNssii';,                              ~
hx..af.domestie vrnlence, hx of substance abttse, hx of LI a u m a / a b u ~ ~ ther: ;-,_/                J4J-                         _
Current protective factors (ci~cle):        ies current SI,     ~~. ~ d e ( g o o ~
s u p p o r ~ f i t ~ ~ ~ i r i t u a l i t y , ~ e h a v i o r , m tivation to c h a · n g e , e ~ ~ l f
~ t r e a t m e n t planning~rat:ed iQ!=tisi~-esponse-f>~ture or·                                       tion,     e ~
Current risk for suicide (circle one): 1.~rr"ena0 clinically significant risk/ 2.                               c inically significant ns , ut
NOT imminellt / 3 Cur..rently at clinically_,significant-risk, IMMINENT- ·




Diagnoses:      O.jf <,Lv   [2//0 h,4,-vv::\.     , <R-,AV\......k:.,=J.. Jo
P: Next session date:_   O?rJl!vfyZo/t( time: 1/200
                          Treatment oals:                                                   Intervention s :                          Pro ress:



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!-Significantly improved 2-Somewhat improved 3-N change 4-Somewhat worse 5-Significantly worse C-Completed D-Dropped
6/12/2020            Case 4:20-cv-00769-BSM
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                                                 unread) - gtclarkboys@yahoo.com         Page 17 of 87
                                                                                 - Yahoo Mail
            III.    Statemen~ of Claim

                    Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
                    facts showing that each plaintjff is entitled to the injunction or othe_r relief sought. State how each defendant
                    was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's riohts,
                    including the dates and places of that involvement or conduct. If more than one claim is asserted, n~mber each
                    claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
                    needed.                                                                                                     l
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            IV.




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                         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 18 of 87


Clark, George. R NFG NG ARARNG (USA)

From:                                     Clark, George R NFG NG ARARNG (USA)            l$i1)         c2-l2-'5"t4>'7
Sent:                                     Wednesday, January 30, 2019 12:40 PM
To:                                       Mal!ett, Joe NFG NG ARANG (US)
Cc:                                       Ward, Billy J NFG (USA); Stanger, Christopher S NFG NG ARARNG (USA)
Subject:                                  Concerns at Arkansas Youth Challenge Program                                        A   _A
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           I\   ·ffet,ql o t"),
           tr                Good morning Mr. Mallett,

                                                 Thank you for meeting with me this morning and my concerns with
the moving of departments. There will be a problem with being supervised under Mr. Hugh Leavell. The documents I
shared with you this morning stated facts.

                                           Mr. Hugh Leavell and Mrs. Regina Ealy were moved from Post Residential
Office. The panel from the hearing proceeding suggested they created a hostile environment and other violations, not
being professional in leadership roles.

                                           My other concern is the following, hiring a past employee, which was
suspended for about three weeks. ( Mrs. Valarie Robinson) She was suspended for trying to fight another employee. As a
supervisor, Mrs. Robinson also created hostile working environment

                                                     And other violations. In accordance with TAG Conduct Policy 2011-04, all YC
staff



                                           Members are prohibited from the following activities: h) Actual or
attempted physical violence or coercion either implied or explicit towards anyone at any time or place related to
employment issue or while on duty or any time on ARNGYCP

                                         Premises. Also, Mr. Hugh Leavell in the past have violated this policy by
threatening me with a gun on several occasion. This incident was witness by other employees and the documents were
revealed in hearing proceedings.

                                                    Sincerely

                                                       Mr. George R. Clark Ill

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Clark, George R NFG NG ARARNG (USA}

From:                                Leavell, Hugh R NFG (US)
Sent:                                Monday, May 13, 2019 10:14 AM
To:                                  Berkley, Fletcher L NFG NG ARARNG (   .
                                     Clemons, Linda R NFG NG ARARNG U~S!, Cla~k, Geo~ge R NFG NG ARARNG (USA);
                                     NFG (USA); Hall, Harold L NFG NG A~~:;b~c, Sl~v1ca NFG (US); Edwards, Carmen D
                                     Christina A NFG (USA)· Robinson V I .   ( SA), Nodurfth, Todd C NFG (US); Raatz,
                                     Christopher A NFG NG ARARNG 'cu~:;1e R NFG NG ARARNG (USA); Williams,

Subject:                             STAFF MEETING



There will be a RPM Staff Meetmg
                              · tomorrow at 0830 h ours ............. .

Hugh Leavell
Community Outreach Director
Desk: 501-212-5304
Fax: 501-212-5519
aryouthchallenge.com




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                   Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 20 of 87


Clark, George R NFG NG ARARNG (USA)

From:                              Leavell, Hugh R NFG (US)
Sent:                              Friday, July 26, 2019 12:11 PM
To:                                Clark, George R NFG NG ARARNG (USA); Mallett, Joe NFG NG ARANG (US)
Cc:                                Ward, Billy J NFG (USA}; Davis, Chynethia D NFG (USA)
Subject:                           RE: My Response (UNCLASSIFIED)

Classification:                   ~UNCLASSIFIED ·



CLASSIFICATION: UNCLASSIFIED

FYI.......... I was asked to support the appointments. Whenever another department needs help and we can help, we
will help. I have receive no request for time off for Mr. Clark. Supporting other departments whenever needed will be
ongoing. This will fall under other duties as assigned. I don't expect every lawful task assigned to be questioned. When
the email was received to provide support, it asked to 2 drivers. Mr: Chris Williams received one of the support missions
on yesterday and Mr. Clark was assigned the other one on Monday. Mr. Hall and Mr. Todd was off when the
assignments we·re given. Mr. Williams concluded his mission without complaint or issues or incident. That type of spirit
of cooperation is what I expect from all my employees. Because I have not received any prior request for leave, if Mr.
Clark does not perform this task, I will require a doctor's note upon his return to work.

---Original Message---
From: Clark, George R NFG NG ARARNG (USA)
Sent: Friday, July 26, 2019 11:47 AM
To: Mallett, Joe NFG NG ARANG (US) <joe.mallett.nfg@mail.mil>
Cc: Leavell, Hugh R NFG {US) <hugh.r.leavell.nfg@mail.mil>; Ward, Billy J NFG {USA) <billy.j.ward12.nfg@mail.mil>;
Davis, Chynethia D NFG (USA) <chynethia.d.davis.nfg@mail.mil>
Subject: My Response (UNCLASSIFIED)

CLASSIFICATION: UNCLASSIFIED

    Mr. Mallet,                                              7/26/2019                                       .
         My concerns are taking cadets to medical appointments, while Arkansas Youth Challenge have employed two
nurses on staff for these job duties.
  Could you explain, how the Community Outreach Director (Hugh Leavell) is over The medical department, with
assigning Post Residential staff with appointments.
        I am not authorize to sign parental documents for children, while they are In Youth Challenge. The nurses and the
parents are responsible for medical appointments and issues.
The nurses should coordinate with Operation's staff for future appointments.
           My goals at Youth Challenge is help to change the lives of at risk Children of Arkansas. I prefer not to know the
medical issues of the cadets.
I do not want to be under HIPAA law or violations. Also, I wish not to be bias toward Youth Challenge cadets because of
their medical issues. Consider these factors.
Also, one of my children has a dental appointment at 9:30 am on July 29, 2019. I will be taking my son to his dental
appointment.



Thank you
George R Clark 111
CLASSIFICATION: UNCLASSIFIED

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                   Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 21 of 87


Clark, George R NFG NG ARARNG (USA)

From:                            Mallett, Joe NFG NG ARANG (US)
Sent:                            Friday, July 26, 2019 1:09 PM
To:                              Clark, George R NFG NG ARARNG (USA)
Cc:                              Leavell, Hugh R NFG {US); Ward, Billy J CSM USARMY NG ARANG (USA)
Subject:                         phone call



Mr. Clark,
Per your phone call I stopped to check my email. I understand your need to take your son to the dentist Monday.
Regarding your concerns both of our Nurses do transport cadets unless the appointments are too numerous for them to
do this and to do sick call, meds, and all the other daily things needed to support the cadets. Then we (Administration)
reach out to other (all) departments for transport or additional support as needed. You never are tasked with any
medical decisions just transport and bring back any paperwork for the nurses to record. We balance assignments out by
who is here on that specific work day and try not to hit just 1 or 2 employees.
I appreciate your concern and efforts to help all cadets.
Had you filled out your leave request? This is another thing we look at to determine assignments for transport to avoid
conflicts for each staff member.
I hope your son's dentist visit goes well.
Thank you.

JM



V/R


Joe Mallett
Director
ARNG Youth Challenge
Phone 501-212-5344
Fax 501-212-5339
www.youthchallenge.com




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                                                     Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 22 of 87
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                     Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 23 of 87



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- ,,,n-_c_f_-ra_"'

    From:                             Clark, George R NFG NG ARARNG (USA)
                                                                                                r...~.-____
   Sent:                              Friday, July 26, 2019 1:44 PM
   To:                                Mallett, Joe NFG NG ARANG (US)
   Subject:                           RE: phone call (UNCLASSIFIED)

   Classification:                    UNCLASSIFIED



    CLASSIFICATION: UNCLASSIFIED



     Mr. Mallet,

               Thanks for confirming my son der:itist appointment over the phone, with the dentist office. I will be available
    for future
            Appointments. I forgot that my son's appointment was on the date of July 29, 2019. Mr. Leavell didn't give me a
    chance to put in my: request.
           He just knoffcin my cubical several time, being loud, Hostile and ignorant. Will you please address Mr. Leavell
    actions toward me.



    ---Original Message----
    From: Mallett, Joe NFG NG ARANG (US)
    Sent: Friday, July 26, 2019 1:09 PM
    To: Clark, George R NFG NG ARARNG (USA) <george.r.clark78.nfg@mail.mil>
    Cc: Leavell, Hugh R NFG (US) <hugh.r.leavell.nfg@mail.mil>; Ward, Billy J CSM USARMY NG ARANG (USA)
    <billy.j.ward12.mil@mail.mil>
    Subject: phone call

    Mr. Clark,
    Per your phone call I stopped to check my email. I understand your need to take your son to the dentist Monday.
    Regarding your concerns both of our Nurses do transport cadets unless the appointments are too numerous for them to
    do this and to do sick call, meds, and all the other daily things needed to support the cadets. Then we (Administration}
    reach out to other (all) departments for transport or additional support as needed. You never are tasked with any
    medical decisions just transport and bring back any·paperwork for the nurses to record. We balance assignments out by
    who is here on that specific work day and try not to hit just 1 or 2 employees.
    I appreciate your concern and efforts to help all cadets.
    Had you filled out your leave request? This is another thing we look at to determine assignments for transport to avoid
    conflicts for each staff member.
    I hope your son's dentist visit goes well.
    Thank-you.

    JM


    V/R


    Joe Mallett
       Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 24 of 87




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            Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 25 of 87
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                                                       Directorate of State Resources
                                                                  DSR Human Resources
                      _ _ _E_m~p_lo_ye~_Counseling I ~ction Summa
Employee: George Clark                                                                                                               EMPL ID: 47485

Supervisor: Hugh Leavell ~PN: 72616)                                          ·•·····- '   ~~~e ofviolalio~:.~_u,_v_2G_·.·_;0_19_ _o_a_te_ofwaming: July 30, 2019
Is lhe employee in a pr~bationary period? []Yes·~

Is lhe employee in a tempora;·~ppoinlment?                         • Ye~-~
Have there been previous w~mings? ~ s
                         ..   --
                                                                 • No             l.   ~heck all that app~.:. _
                                                                                                                                            -·
Discipiinary Action                        I Date(s)             Briefly descrlbe the nature of the inappropriate be havior.
                                                                 tmproyee repoiieo to work out of compliance Wllh YCP dress co e
                                                                 in Jeans and tennis shoes, he was asl<ed to come to the office for

~ a l warning
                                           I
                                           ; 06/04/2019
                                                                 counseling and the em~loyee refused and instead went to speak
                                                                 with the Director. Viola in9:,Department of the Military's Chain of
                                                                 Command Police (DOTM alley Handbook pg. 6). Also violating
                                           I                     DOTM Uniiorm ode of Conduct Policy Grau p 2 (a.) Refusal to
                                           ;                     follow Section Manafliers instructions, perfor m assigned work, or
                                           I
                                           I                     otherwise comply wi established written pol icy. (c.) Use of
                                           I                     Obscene or abusive lan9.ua~e, (e) Disruptive Behaviors
                                                                 v16Iat1on of the tallowing po1c,es: EASEllolf"
10'Written warning•                            07/26/2019        Manual Pfi· 14), Chain of Command Policy, (
                                                                 pg. 6) Re usal to follow Section Managers in
                                                                 assi9.D_ed work. or otherwise _<::_l?_l)!PIY with est
                                                                                      -
• Decision making leave• !I                                                 ...
                        --         .....                                                                                .   .....
• Termination•
                -                                           -~   --·                             ................                   .....

Nature of the current violation. Provide the facts. Describe in detail belay.,, on back, or attach a sheet.
• Substandard Work                         • Tardiness                                                     • Carelessness                   • Theft
[dfhsubordinalion                          • Harassing others                                              • Violence                       • Other: Unprofessionalism
[Jfnappropriate Conduct                    • Dishonesty                                                    • Absenteeism                    • Violation: EASE Policy
  Describe the violation: Mr. Clark was ~iven an assignment on July ~(j•n to trans~ort s1udenLc; 10 a medical appointment;
  however ins1ead of Mr. Clark voicing Ins concerns to his immedinle supervisor, 1e chose to voice chis in an email. 1-Ie
  sent an email to the YCP Director writi(3 his concerns. and explaining why he did not want to l)erfom1 the duty
  assigned to him. (Violntion: Chain of omm:md Policv noted nbo,·e) & (Fnilure to Follow Sections i\-Innnf,cr's
  Instructions) Mr. Clarks also slated in his email 1lm1 he fmd n dental apfiointment schcduJed for his child on Ju y 29 1",
  however Mr. Clark had not submitted n sick leave request to Mr. Leave I for prior arr>roval nor had a verbal discussion
  been had. Violation (Leave Ense Polic,• noted nbove) Nol receiving prior al>J'irova for ALL leave. Later that dav Mr.
· Leavell had nn imprompm mee1ing that\vas informal and evcrvone \\ as aske 10 remain at their workstations but \Vas in
                                                                                                                    1

  ear-shot of the messa~e. When Mr. Leavell asked Mr. Clark dld he fet all that he was savinu, .Mr. Clark never
  responded or ncknow edged Mr. Clark, which prompted Mr. Leavel 10 ask him several times "did he hear him'?" Mr.
  Clark never responded finallv Mr. Leavell knocked on his cubical door and vet he never resr,onded Mr. Leavell tried to
  o~en the door but Mr. Clark had it locked and never gol up 10 open the door: The result oft 1is disruptive behavior
  ( iolntion or Uniform Code of Conduct ~e.) which unfortunn1cly led to Mr. Leavell being unable to continue the
  meeting with the staff. There are several a lidnvi1s from Mr. Clark:-' co-workers staling they witnessed chis disruptive
  behavior that occurred on this day, 1hey will be auac:]1ed.

  July 26,2019@1:44pm nn email wns forwarded to Lhc director Joe Mollet from Mr. Clnrk. stating thnt Mr.
 Clari< did not 2ive him nmple time lo put in a leave rewest. Mr. Clark was ve~ disrespectful and displayed
 insubordinate and unprofessional behavior bJ' calling Ir. Leavell Hostile and gnoranl in his email and o nin
 here he is in violntion of Chnin of Cornman Policv7Proccdurc by not reporting his concerns lo Mr. War ,                                                           8
 who is Mr. Leavells' supervisor. If Mr. Clark had in issue with Mr. Leavell, he.should hilVC reporte9 this to
 Mr. Ward. \'iolution of YCP sor: Rcssonsibilitics to Colleuuues: I) Staff members Will treat collea!!Ues With
 respect, courtesy, fairness, and goo faith. 2) Stilff shaYI behave in a professional manner in nTI work-related
 contacts.                                                                                              ·
                                                       Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 26 of 87
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                                                      (8)-~ee exhibits:providing
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                                                                                 supporting medical information for Mr. Clark's allegations.
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           Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 27 of 87




      e; .Remediation: .

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                   "sy#~m;':CC>Il~Uct retrai,ning;'and:direct Mr~-Leavell.to conduct periodic audits t<l
                   ensure compli~ce with tJieSprogram.                       .      ..
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             2) The Youth Challenge·rnrector will.counsel Mr. Leavell on the State Military
                 Dep~~nf~ork~~ndance. policy and ensure it is· properly. exe_c~ted to :in.elude the
                .correcf use_ofcompensatory time.       .
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             3) Mr. ~eayelLwiJI counsel Ms. -~aly OD'the work attendance policy and The Adjut_ant
                (}erieral'~ policy-cm per,sonal condµct:to include use of prnfanity in the workplac·e.



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          s4owedJhat 1v1r:Leavellhas erigag7d in inappropriate, harassing, and threatening behavior,
       :iesulfing in a hostile workenviroru:nent atthe YCP: He has shown little regard for employees
        ;tindf!r his span of c(?ntroL 1be resultoftllis disregard is poor performance, ·low morale, aridjob
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                                Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 35 of 87




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                                  Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 36 of 87

    EEOC Fann 5 (11109)

                                                                                                                                                                                     Agency(ies) Charge No(s):

                                                                                                                                        •
                                  CHARGE OF DISCRIMINATION                                                                         Charge Presented To:
                      This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                                                   FEPA
                            Statement and other information before completing this form.
                                                                                                                                        ~          EEOC                                   493-2019-01328
                                                                                                               null                                                                                            and EEOC
                                                                                                  State or local Agency, ifany
    Name (indicate Mr., Ms., Mrs.)                                                                                                                           Home Phone                                   Year of Birth
    Mr. George R Clark                                                                                                                                    (501) 442-1010                                       1961
    Street                                                                                                                                                            ---     --                               - --   - ......   ...
    ---- Address                                                                                           City, State and ZIP Code -
                                                                                        -                                               -- -- -·       -    --- ---                ---·   -------·   -·   ,.



-                         ·----   --- ---   .        --- ·-- -·-·   .   ..   -              -



    3907 Hillside Dr., NORTH LITTLE ROCK, AR 72118

    Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government-Agency That I Believe Discriminated
    Against Me or Others. (Ifmore than two, list under PARTICULARS below.)
    Name                                                                                                    No. Employees. Members            Phon~No.
    ARKANSAS MILITARY DEPT.                                                                                                                                 501+                            (501) 212-5300
    Street Address                                                                                         City, State and ZIP Code
    Camp J. T. Robinson Building 6000, NORTH LITTLE ROCK, AR 72199

    Name                                                                                                                                            No. Employees. Members                           Phone No.


    Street Address                                                                                         City, State and ZIP Code



    DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                                                    DATE(S) DISCRIMINATION TOOK PLACE

      [K]               • • • •                                                                                 •                                                   Earliest                  latest


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               RACE                    COLOR                        SEX                         RELIGION                  NATIONAL ORIGIN                         01-30-2019                          07-09-2019
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                      •      •
                      RETALIATION
                              OTHER {Specifj,)
                                                    AGE                          DISABILITY                        GENETIC INFORMATION
                                                                                                                                                                            [Kl CONTINUING ACTION
    THE PARTICULARS ARE (Ifadditional paper is needed, attach extra sheet(s)}:
      I was hired in September 2004, and my position is Case Manager. I have filed two previous charges for harassment. A grievance
      was held in 2014, resulting in the removal of my supervisor for harassment and creating a hostile work environment. I was
      informed onJanuary 3, 2019, that he was being reassigned as my supervisor. I complained to the new HR-about this during a
      meeting onJanuary 30, 2019. Regardless, he was assigned effective May 22, 2019. He wrote me up for profanity, wearingjeans,
      and tennis sho~s onJune 5, 2019. A White coworker loudly refused one of his orders on May 24, 2019, and the supervisor told him
      he could have written him up for insubordination.

      HR told me to get on board and stated I know how to get peoples attention. I was also told by the grievance officer I did not have
      to meet with my supervisor alone, but HR said I did.

      I believe I have been subjected to a hostile work environment, harassment, discipline, additional job duties, and reassignment of
      my previous harasser in retaliation for filing previous complaints/EEOC charges. I also believe I was disciplined because of my
      race (Black); all in violation of Title VII of the Civil Rights Act of 1964, as amended.


    I want this charge filed with both the EEOC and the State or local Agency, if any. I will                            NOTARY - When necessa,y for State and local Agency Rt;quirements
    advise the agencies if I change my address or phone number and I will cooperate fully with
    them in the processing of my charge in accordance with their procedures.
                                                                                                                         I swear or affirm that I have read the above charge and that it is true to the
    I declare under penalty of perjury that the above is true and correct.                                               best of my knowledge, information and belief.
                                                                                                                         SIGNATURE OF COMPLAINANT


                                                                                                                         SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
               Digitally signed by George Clark on 07-09-2019 04:41 PM EDT                                               (month, day,yeill'!
                             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 37 of 87

CP Enclosure with EEOC Form 5 (I 1/09)


PRIVA:CY Acr STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal data
and its uses are:

1.       FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2.       AumoRITY.          42   u.s.c. 2oooe-s(b), 29 u.s.c. 211. 29 u.s.c. 626, 42 u.s.c. 12111, 42 u.s.c. 2oooff-6.
3.    PRINCIPALPURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
(whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination
statutes (EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's
jurisdiction and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4.     ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered
by the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used
by staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and
litigate claims of unlawful discrimination. This form may be presented to or disclosed to other federal,
state or local agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge
will ordinarily be sent to the respondent organization against which the charge is made.

5.                                                                      Charges must be reduced to
         WHETIIERDISCLOSURE IS MANDATORY; EFFECT OF NOT GMNG INFORMATION.
writing and should identify the charging and responding parties and the actions or policies complained
of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under Title VII, the
ADA or GINA must be sworn to or affirmed (either by using this form or by presenting a notarized
statement or unsworn declaration under penalty of perjury); charges under the ADEA should ordinarily
be signed. Charges may be clarified or amplified later by amendment. It is not mandatory that this form
be used to make a charge.

                                          NOTICE OF R.lGIIT TO REQUEST SUBSTANTIAL WEIGIIT REvlEW

 Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with
 EEOC will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by
 a FEPA under worksharing agreements. You will be told which agency will handle your charge. When the
 FEPA is the first to handle the charge, it will notify you of its final resolution of the matter. Then, if you
 wish EEOC to give Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do
 so within 15 days of your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding
 and close our file on the charge.

                                                   NOTICE OF NON-RETALIATION REQUIREMENTS

 Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
 you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this
 charge. Under Section 704(a) of Title VII, Section 4(d) of the ADEA, Section 503(a) of the ADA and Section
 207(0 of GINA, it is unlawful for an employerto discriminate against present or former employees or job
 applicants, for an employment agencyto discriminate against anyone, or for a union to discriminate
 against its members or membership applicants, because they have opposed any practice made unlawful
 by the statutes, or because they have made a charge, testified, assisted, or participated in any manner in
 an investigation, proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and
 Section 503(6) of the ADA prohibits coercion, intimidation, threats or interference with anyone for
 exercising or enjoying, or aiding or encouraging others in their exercise or enjoyment of, rights under the
 Act.
                                                                 Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 38 of 87




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                  Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 39 of 87


             (4) What specific remedy do you request?

             I want the Gender Discrimination, Harassment, Hostile Working Environment and the
             violations of the code of ethics to stop. I want Mr. J:.eaveUand Mrs. Ealy to be held
             accountable and reprimanded in accordance to our state and federal policy and
             procedures.

             Employee's. Signature:


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             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 40 of 87




                                                                                    11
                        going to -- okay.     All right, next question.       Mr.

         2              Clark makes a claim that -- he -- that he was required

         3              to attend training despite being sick, and he provided

         4              you with a doctors statement to that effect.          Did you

         5              ever make him go to training even though he had a

         6              doctors statement?

         7                    MR. LEAVELL:    This -- this -- this came out

         8              during the -- his performance evaluation appeal --

         9                    GENERAL KLEMMER: Okay.
        IO                    MR. LEAVELL:        panel and he brought that up and

        11              he was referring to the document.        The doctor's

        12              statement was brought up when I wanted him to go to

        13              the barracks and supervise or do --
@
.

        14                    GENERAL KLEMMER:     Okay.

        15                    MR. LEAVELL:       you know, and do what Mr. Laboy

        16              wanted done.     And he brought that out during then.

        17              Now, that being said, there was a required -- the case

        18              managers have to be certified every three years.

        19                    GENERAL KLEMMER:     Okay.

        20                    MR. LEAVELL:    We don't know when they're -- Mr.

        21              Clark and another employee are two years out of

        22              certification.     I had lobbied with Doing Mighty
        23              Things, which is the contractor for training for the

        24              Youth Challenge program right.

        25                    GENERAL KLEMMER: Uh-huh.

@   .
              Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 41 of 87




                                                                                        12
                                 MR. LEAVELL:   Lobbied with them to get three
          2           slots.
          J                      GENERAL KLEMMER:   Okay.
          4                      MR. LEAVELL:   You know, out of -- have 25 I think
          5           they had.
          6                      GENERAL KLEMMER:   Yeah, and where was the
          7           training at?
          8                      MR. LEAVELL: It's -- it was in Massachusetts?
          9                      GENERAL KLEMMER:   Okay.
         JO                      MR. LEAVELL:   And before anything about anything
         Il           being sick, the first thing out of Mr. Clark's mouth
         12           and another employee, was "I'm not going.           You can't

®
.
 .
         13

         14
                      make me go, period."
                      why.
                                                    I tried to get to the bottom of
                                  "I don't have--" first        the first thing was
         15           funds.        "I don't have the money to put up front to
         16           go•   II



         17                      GENERAL KLEMMER: Okay.
         18                      MR. LEAVELL: So I lobbied with General Johnson
         19           and anybody else, Colonel Heffling (phonetic)            trying
         20           to get funds to pay for their travel in advance so
         21           they wouldn't have to.         That was approved.    Then,   the
         22                 after that was approved, then I'm not going because
         23           of these reasons.         And neither employee went to that
         24           training.
         25                      GENERAL KLEMMER: Okay.     So you're saying that --


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           Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 42 of 87


                             ............ .-.LJ£,   n.v~~ ~UKG-ICAL CLINIC
                      500 SOUTH UNIVERSITY - SUITE 317 LlTILE ROCK, ARKANSAS 72205
 .,                                    . PHONE: (501)   664-1434
                     .                             .
Lance K. Bums, MD. ' Bobby D. Peny, M.D., FA.C.S.                 Lee C. Raley. M.D., F.A.C.R.S. . Kurtis S. Vmsant, MD.,.
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         DATE:        !
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        ~~tfV0
         Little ock Surgical Clinic


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             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 43 of 87


                                                                              ...



                                                                                    13
                    it -- when you said he had -- he had to go, he
         2          basically came back and said, well I don't want to go,
         3          I'm not going to go.
         4                MR. LEAVELL: Right.
         5                GENERAL KLEMMER: And -- and then when pressed for
         6          a reason, he said that I don't the money to front.

         7                MR. LEAVELL:    Right.
         8                GENERAL KLEMMER:     But when you get the money to
         9          front, and he came back with the reason that --
        10                MR. LEAVELL: Right.
        11                GENERAL KLEMMER:         said "I'm -- I've got a
        12          doctors excuse, I can't go."

    0   13

        14
                          MR. LEAVELL:    Correct.
                          GENERAL KLEMMER:     Okay.   Okay.   And but -- did he
        15          end up going?
        16                MR. LEAVELL: Yeah.
        17                GENERAL KLEMMER: Okay.
        18                MR. LEAVELL:    And to this day, they're not
        19          certified.
        20                GENERAL KLEMMER:     Okay.
        21                MR. LEAVELL:    When I       what I ended up -- I
        22          ended up sending Ms. Ealy and Ms. Moore who had just
        23          recently come on board.
        24                GENERAL KLEMMER:     Okay.    He -- he mentions a
        25          couple of -- a couple of things about Ms. Ealy and I'm


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               Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 44 of 87


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                                ARKANSAS STATE MILITARY DEPARTMENT


               IN RE:     GEORGE CLARK GRIEVANC2
                          FOLLOW-UP INTERVIEW SESSION




                                             HUGH LEAVELL
                                          September 12, 2013




                                    BUSHMAN COURT REPORTING
                                            620 WEST THIRD
                                              SUITE 302
                                    LITTLE ROCK, ARKANSAS 72201
                                            (501) 372-5115

                                      bushmanreporting@aol.com




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          Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 45 of 87




                                                                                  2
                                    P R O C E E D I N G S

      2                    GRIEVANCE OFFICER:      Today is September 12, 2013.
      3               In accordance with the Arkansas Military Department
      4               Grievance Policy and Procedure, this is a follow-up
      5               session pertaining to a grievance filed by Mr. George
      6               Clark on August 29, 2013.      This session is a follow-up
      7               session to obtain information pertaining to his
      8               grievance.     Please state your name and your title for
      9               the record.     I'm Da'Vetta Flowers, Grievance Officer,
     10               and the time is 13:0200 hours.
     Il                    MR. LEAVELL:     Hugh Leavell, Deputy Director Youth
     12               Challenge.
     13                    GRIEVANCE OFFICER:      And you are the second~line
     14               supervisor of Mr. George Clark?
     15                    MR. LEAVELL:     Yes, ma'am.
     16                    GENERAL KLEMMER:     Okay.     All right.   And I am
     17               Brigadier General Keith Klemmer.        I'm the Deputy
     18               Adjutant General for the Arkansas National Guard.
     19               Okay. Mr. Leavell, I want to ask you a series of
     20               start off with fairly simple questions, and I'll get
     21               into some more of the complex questions, but how long
     22               have you actually been the deputy director at Youth
     23               Challenge?
     24                    MR. LEAVELL:     Since last year and I can't give
     25               you the exact date.
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          Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 46 of 87




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~                                                                                     3
      1                   GENERAL KLEMMER:       And so about a year or so?
     2              Okay, and how long have you been a state employee?
      3                   MR. LEAVELL:     For five years.
     4                    GENERAL KLEMMER:       Five years.     Okay.    You're --
      5             describe your daily responsibilities and your duties;
      6             what you do day to day.
      7                   MR. LEAVELL: Just supervise recruiting,
      8                   counseling, and post-residential (inaudible).
      9                   GENERAL KLEMMER:       Okay.    And how many people do
     10             you have that work for you?
     11                   MR. LEAVELL:     Eight.
     12                   GENERAL KLEMMER: Okay.         And Mr. --
     13                   MR. LEAVELL:    (inaudible)
     14                   GENERAL KLEMMER: Okay.         Okay.   Eight -- eight
     15             direct reports?      Okay.    And -- Ms. Ealy is a direct
     16             report of yours?
     17                   MR. LEAVELL: Yeah, I'm -- I'm just saying eight
     18                   people total falls in -
     19                   GENERAL KLEMMER: Total.        All falls up
     20             underneath --
     21                   MR. LEAVELL: -- right.
     22                   GENERAL KLEMMER: -- including Mr. Clark and -
     23                   MR. LEAVELL: Yes.
     24                   GENERAL KLEMMER: -- Mrs. Ealy?          Okay.   All right.
     25             How long have you worked with Mr. Clark?

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           Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 47 of 87




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                            MR. LEAVELL:    Since I've been there.

       2                    GENERAL KLEMMER: Okay.      So for five years?

       3                    MR. LEAVELL:    Uh-huh.
       4                    GENERAL KLEMMER:    Okay.    Has it always been
       5              inside the counseling -- inside your current

       6              assignment or -
       7                    MR. LEAVELL: No sir.      Just --
       8                    GENERAL KLEMMER:     Different departments?

       9                    MR. LEAVELL: Right.

      IO                    GENERAL KLEMMER: Okay.
      1I                    MR. LEAVELL:    Because I was originally hired as a

      12              recruiter.

      13                    GENERAL KLEMMER: Okay.
(!)
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      14                    MR. LEAVELL: And I was in a separate building and
      15              then they put my office in the same office where the

      16              PR was presently located.

      17                    GENERAL KLEMMER: Okay.      All right.   You -- you
      18              may or may not be familiar with it but, I'll ask you;
      19              are you -- are you aware/familiar with a tag

      20              (phonetic) policy?     It's -- it's actually a number on
      21              it, it's 2011-04 and it's called conduct.         Are you
      22              familiar with that policy at all?
      23                    MR. LEAVELL:    Not directly sir.
      24                    GENERAL KLEMMER: Okay.      It's probably been a
      25              while since you've looked at it I would imagine.
                     Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 48 of 87




                                                                                                    5
                               There~- there -- Mr. Clark's made several accusations

                 2             and -- and I just want to get your response so I can

                 3             kind of, you know, arrive at a -- at opinion of

                 4             actually what happened.              The first one is that during
                 5             his performance evaluation appeal which -- what --
                 6             what day did that occur on, do you remember?                Was it
                 7             in late -- late August?

                 8                     MR. LEAVELL: It was late August.

                 9                     GENERAL KLEMMER:           Okay.    He claims that in his

                10             words -- it was -- you were threatening to him or
                11             threatened him?
                12                     MR. LEAVELL:         No, sir.

~   .           13                     GENERAL KLEMMER: Okay.             And -- and he claims that
.


                14             you threatened to fire him during this?
                15                    ,,..:MR.-. LEAVELL:   No,   sir.

                16                     GENERAL KLEMMER:           Okay.
                17                     MR. LEAVELL:         Can I go into detail?
                18                     GENERAL KLEMMER: Yea, please do.             Please do.
                19                     MR. LEAVELL:         The day before, when he told me
                20             that he wanted to appeal his performance evaluation to
                21             me -
                22                     GENERAL KLEMMER: Okay.
                23                     MR. LEAVELL: -- I called him and Ms. Ealy into my
                24             office, and I told them that we weren't going to go
                25             into it today, but tomorrow morning, whatever day it


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                   Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 49 of 87




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               1              was, I said "tomorrow morning at 8:30 we'll meet, and
               2              during this meeting I want you to bring what ever you
               3              have to support your side, you know.
               4                   GENERAL KLEMMER:         The situation right, right.
               5                   MR. LEAVELL:       Right.      And about two minutes
               6              later, he came back to me and said "I don't have
               7              anything to support, I just know I do a good job."                    I
               8             said "Okay, well, whenever you -- tomorrow morning
               9              we'll--"
              10                   GENERAL KLEMMER: What was his main -- his main
              II              issue with his performance appraisal?
              12                   .J1R.   L"EAVELL: · His main issue is that according --
              13              for his own -- in his own words "You're taking money
 •@
              14              out of my mouth with giving me this satisfactory--"
              15                   GSN'E.RAI.. KLEMMER: Okay.       So what was -the potential
              16              ratings he could have got?
              17                        '
                                   Mi8-,,.,,.,.J.,_~AY:EL~.: ,--It. v1as -- well, of course below
              18              satisfactory, among the best, exceeding standards, I
              19              think {inaudible).
              20                   GENERAL KLEMMER:         Okay, and he got a
              21            -"satisf~ict:ory?
              22                   MR. LEAVELL: He's got a satisfactory.
                                       ~- ...... .
              23                   GENERAL KLEMMER: And that -- what that means is
              24              that he doesn't get to participate in --
              25                   MR. LEAVELL:       At least I don't know percentage

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             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 50 of 87




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                       wise or --

         2                    GENERAL KLEMMER: -- probably just bonus based

         3             upon (inaudible) but

         4                   . MR. LEAVELL: Right.

         5                    GENERAL KLEMMER: -- would not be okay.

         6                    MR. LEAVELL:    Right.

         7                    GENERAL KLEMMER: Okay.

         8                    MR. LEAVELL:    And the next morning we met, and I

         9             had reviewed everything, and I supported Ms. Ealy's

        10             rating.    And he said, "Well, I don't need to hear

        1I             anything else, so I don't        II
                                                             And I said, "Well, let

        12             me tell you why I support this rating."            And I brought

        13             up several incidents that had happened during that
€).


        14             rating period.     And I said, "This incident           because
                                                                     Ir
        15             I had given him a task to accomplish

        16                    GENERAL KLEMMER: Uh-huh.

        17                    MR. LEAVELL: -- he told me he wasn't going to do

        18             it.

        19                    GENERAL KLEMMER:    And what was that task?

        20                    MR. LEAVELL:    Well, Mr. Laboy had instructed me

        21             to have PRO to go to the barracks and -- in the
        22             morning times between lunch -- between PT and

        23             breakfast, to         for the case managers to build a
        24             rapport with
        25                    GENERAL KLEMMER:    Okay, with the students?


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             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 51 of 87




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         2
                               MR. LEAVELL: (inaudible) He wanted that done.
                        And it wasn't being -- he called me in his office and
                                                                                        8




         3              said "Look, you need to        II




         4                     GRIEVANCE OFFICER:     When you say he for the
         5              record?
         6                     MR. LEAVELL:   Mr. Laboy.
         7                     GENERAL KLEMMER: Okay.
         8                     MR. LEAVELL: He called me.        He said, "You need to
         9              make this happen."     So, I said, "Okay".       And Mr. Clark
        IO              said, "No, I'm not doing it.          That's not my job.    I
        11              ain't going to do it."
        12                     GENERAL KLEMMER:     Okay.
                               MR. LEAVELL: So I documented it as according to
~
        13
        14              the sheet that I have for counseling, the first thing
        15              is a
        16                     GENERAL KLEMMER:     Verbal warning?
        17                     MR. LEAVELL: -- verbal warning.
        18                     GENERAL KLEMMER:     Uh-huh.
        19                     MR. LEAVELL:   And that's what it was.         And that's
        20              what I was trying to give him was a verbal warning.
        21              And he yelled at me and said a few curse words
        22               (inaudible} something and walked out the office, just
        23              walked out.     And I changed that to a written -- I
        24              bumped it up.     And I could have, under those grounds
        25              -- according to the state handbook, that's hostile.


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         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 52 of 87




                                                                                 9
     1                      GENERAL KLEMMER:     Uh-huh.
     2                      MR. LEAVELL:   And I could have recommended
     3              termination.
     4                      GENERAL KLEMMER: Okay.
     5                      MR. LEAVELL:   And that's what I was telling him
     6              during this meeting.
     7                      GENERAL KLEMMER: Okay.
     8                      MR. LEAVELL: I said, "~ou have done some things
     9              that you could have been fired for."        I said, "But I
    10              chose not to go that route."
    11                      GENERAL KLEMMER:     Yeah.
    12                      MR. LEAVELL:   And that's
    13                      GENERAL KLEMMER:     That's -
0   14                      MR. LEAVELL: -- what I said.
    15                      GENERAL KLEMMER:     Okay.
    16                      MR. LEAVELL:   (inaudible)
    17                      GENERAL KLEMMER:     Did that -- did that rating end
    18              up in his personnel record or is it something you
    19              kept?
    20                      MR. LEAVELL:   Something I kept.    I don't think it
    21             made it to his personnel record.         I don't --
    22                      GRIEVANCE OFFICER:     Was that -- was that the
    23              incident that you got up to Tess?
    24                      MR. LEAVELL:   It did make it in there?
    25                      GRIEVANCE OFFICER:     You brought it up to Tess,
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 53 of 87




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                    but Tess gave -- gave it back to you.
     2                      MR. LEAVELL:   She gave it back to me?        Why did
     3              she give it back to me?
     4                      GRIEVANCE OFFICER:     Now, I don't know, but I'm
     5              asking is that the (inaudible).
     6                      MR. LEAVELL: I don't -- I'm not -
     7                      GENERAL KLEMMER: Yeah, let's don't -- we dont
     8              want to speculate because it's --
     9                      MR. LEAVELL: Right.
    10                      GENERAL KLEMMER: -- It's probably more
    11              information than we really need for this -- for my
    12              questions so.     All right.     So -- so basically, that
    13              was the issue where he -- he says that you threatened
    14              to fire him was that particular -- was the appraisal
    15              appeal and you didn't do that.         That's the bottom
    16              line.
    17                      MR. LEAVELL: Right.
    18                      GENERAL KLEMMER:     Okay.   And -- and it -- it
    19              wasn't me threatening to fire him, I was sharing with
    20              him that during this rating period
    21                      GENERAL KLEMMER: Yeah.
    22                      MR. LEAVELL: -- he had done some things that --
    23                      GENERAL KLEMMER:     Okay, that could have        okay.
    24                      MR. LEAVELL: -- could warrant termination.
    25                      GENERAL KLEMMER:     Okay.   All right, I'm just
          Case 4:20-cv-00769-BSM Document 1 0o"?
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                                             Filed 06/19/20
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                          going to -- okay.                 All right, next question.     Mr.
      2                   Clark makes a claim that -- he -- that he was required
      3                   to attend training despite being sick, and he provided
      4                   you with a doctors statement to that effect.                    Did you
      5                   ever make him go to training even though he had a
      6                   doctors statement?
      7                                  MR. iEAVELL:       This -- this -- this came out
                             (-;i,.sc"




      8                   during the -- his performance evaluation appeal --
      9                                  GENERAL KLEMMER: Okay.
     10                          f:i~i7       LEAVELL:/ -- panel and he brought that up and
     11                   he was referring to the document.                   The doctor's
     12                   statement was brought up when I wanted him to go to
     13                   the barracks and supervise or do --
@.
     14                                  GENERAL KLEMMER:        Okay.
     15                                  ,tllL. LEAYE1,:LL:. ~~--- you know, and do what Mr. Laboy
     16                   wanted done.              And he brought that out during then.
     17                   Now, that being said, there was a required -- the case
     18                   managers have to be certified every three years.
     19                                  GENERAL KLEMMER:        Okay.
     20                                  'MR.· LEAVELL:;    We don't know when they' re -- Mr.
     21                   Clark and another employee are two years out of
     22                   certification.               I had lobbied with Doing Mighty
     23                   Things, which is the contractor for training for the
     24                   Youth Challenge program right.
     25                                  GENERAL KLEMMER: Uh-huh.
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 55 of 87




                                                                                    12
                               MR. LEAVELL:   Lobbied with them to get three
     2              slots.
     3                         GENERAL KLEMMER:   Okay.

     4                         MR. LEAVELL:   You know, out of -- have 25 I think
     5              they had.
     6                         GENERAL KLEMMER:   Yeah, and where was the
     7              training at?
     8                         MR. LEAVELL: It's -- it was in Massachusetts?
     9                         GENERAL KLEMMER:   Okay.
    JO                         MR. LEAVELL:   And before anything about anything
    11              being sick, the first thing out of Mr. Clark's mouth
    12              and another employee, was "I'm not going.           You can't

@   13              make me go, period."          I tried to get to the bottom of
    14              why.        "I don't have--" first        the first thing was
    15              funds.        "I don't have the money to put up front to
    16              go,   II



    17                         GENERAL KLEMMER: Okay.

    18                         MR. LEAVELL: So I lobbied with General Johnson
    19              and anybody else, Colonel Heffling (phonetic) trying
    20              to get funds to pay for their travel in advance so
    21              they wouldn't have to.         That was approved.     Then, the
    22                    after that was approved, then I'm not going because
    23              of these reasons.         And neither employee went to that
    24              training.
    25                         GENERAL KLEMMER: Okay.     So you're saying that --
             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 56 of 87
                        .a..JA .a. ... .LJ.£1 ~VL.l\. ~ URG-ICAL CLINIC

                    500 SOUTH UNIVERSITY - SUITE 317 LITTLE ROCK, ARKANSAS 72205
                                               . PHONE; (501) 664-1434
Lance K. Bums, MD.' Bobby D. Peny, MD., F.A..C.S.                Lee C. Raley. M.D., F.A.C.R.S. . Kurtis S. Vinsant. MD.., F.A.
                           DiplotmtAmerican Board of Surgt1y       DiplOIDIII'. Amc:rican l3ooro ofS~..iy ·   Diplom:xr Amcrie311 Emrd ofSwgo
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             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 57 of 87




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                        it -- when you said he had -- he had to go, he
         2              basically came back and said, well I don't want to go,
         3              I'm not going to go.
         4                   MR. LEAVELL: Right.
         5                   GENERAL KLEMMER: And -- and then when pressed for
         6              a reason, he said that I don't the money to front.
         7                   MR. LEAVELL:     Right.
         8                   GENERAL KLEMMER:      But when you get the money to
         9              front, and he came back with the reason that --
        10                   MR. LEAVELL: Right.
        11                   GENERAL KLEMMER:          said "I'm -- I've got a
        12              doctors excuse, I can't go."
        13                   MR. LEAVELL:     Correct .
(ill}
   .


        14                   GENERAL KLEMMER:      Okay.    Okay.   And but -- did he
        15              end up going?
        16                   MR. LEAVELL: Yeah.
        17                   GENERAL KLEMMER: Okay.
        18                   MR. LEAVELL:     And to this day, they're not
        19              certified.
        20                   GENERAL KLEMMER:      Okay.
        21                   MR. LEAVELL:     When I       what I ended up -- I
        22              ended up sending Ms. Ealy and Ms. Moore who had just
        23              recently .come on board.
        24                   GENERAL KLEMMER:      Okay.    He -- he mentions a
        25              couple of -- a couple of things about Ms. Ealy and I'm
             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 58 of 87




                                                                                    14
                      going to try to -- I'll ask those all together.          He
         2            he states that she fails to show up for work on time
         3            often arriving 15-45 minutes late, takes extended
         4             lunch hours sometimes as much as 90 minutes, and is
         5            this true?
         6                  MR. LEAVELL:     Sometimes she does --
         7                  GENERAL KLEMMER: Okay.
         8                  MR. LEAVELL:        show up late for work.
         9                  GENERAL KLEMMER:     Okay.
        10                  MR. LEAVELL:     Sometimes its anywhere from 15 to
        11             45 minutes.     It has been.   It's not -- I wouldn't
        12            consider it to be habitual, but yes, it occurred.

    ~
        13                  GENERAL KLEMMER:     Okay.
        14                  MR. LEAVELL:     I will say this; not one time has
        15             she showed late for work -- this is what I put out to
        16            my staff.      I say "Whatever your designated time to be
        17             into work, if you're not going to be in at that time,
        18            you need to let your supervisor or someone in your
        19            chain know that you're going to be late.
        20                  GENERAL KLEMMER: Okay.
        21                  MR. LEAVELL: If you exceed the seven-minute
        22            window, you have to turn in a time sheet.
        23                  GENERAL KLEMMER:     Okay.
        24                  MR. LEAVELL:     If you're there, you know, within
        25            seven minutes then no time sheet is needed .



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          Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 59 of 87




                                                                                    15
                          GENERAL KLEMMER:     Okay.     But she -- but she's
      2             allowed -- she's has been late, and has she always

      3              turned in leave?
      4                   MR. LEAVELL:    She has sometimes.      Sometimes n~,
      5              not all them.

      6                   GENERAL KLEMMER:     Okay, and that's fine,      I mean
      7              she -- just --
      8                   MR. LEAVELL; She hasn't always turned in a leave.

      9             Sometimes she's made up the time on the back end
     10             versus --
     1l                   GENERAL KLEMMER:     Okay.
     12                   MR. LEAVELL: -- turning in a leave order.
     13                   GENERAL KLEMMER:     And that's fine.     That's    fine., ✓
@)
     14             That's honest, I appreciate that.         There's also a
     15             couple of other accusations I'll cover.         One has to do
     16             with the case load tracking matrices, and there
     17             accusations made that she's not updating that, the
     18              tracking matrix, their charts as -- as required.
     19                   MR. LEAVELL: She -- she created --
     20                   GENERAL KLEMMER:     Okay.
     21                   MR. LEAVELL: --this          when -- Cares is our
     22             program -- went off line
     23                   GENERAL KLEMMER:     Okay.
     24                   MR. LEAVELL:        that we were using to report it.
     25             She created this tracking matrix.        As tracking --


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             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 60 of 87




                                                                                    16
                     now, each -- each case manager has a -- essentially
         2           the same thing to update and to report on.          What she
         3           updates is only as good as the information that they
         4           put in.
         5                 GENERAL KLEMMER:     Uh-huh.    He -- he provided me
         6           examples of the matrix.      And let me -- let me -- I'll
         7           show you one just as an example.        And it's         it's on
         8            file with the grievance officer so.       And I just want
         9           to ask your opinion about it.
        10                 MR. LEAVELL:     I'm glad I brought my glasses.
        11                 GENERAL KLEMMER: Yeah.
        12                 MR. LEAVELL:    Can I get a office down here?
 ~      13                 GENERAL KLEMMER:     No, not yet.    We'll -- we'll
 ~
        14            fix all this.    But would you consider that one -
        15                 MR. LEAVELL:    No, this is not what I'm talking
        16           about.
        17                 GENERAL KLEMMER:     Yeah, this -- this is what I --
        18           yeah, this is what he claims is not being filled out
        19           properly.
        20                 MR. LEAVELL:    No, this is -- this is not -- this
        21            is not -- this is not what I'm referring to.
_.,
        22                 GENERAL KLEMMER:     Okay.
,,_,f
·~
I       23                 MR. LEAVELL:     I'm referring to an Excel sheet.
        24                 GENERAL KLEMMER:     Okay.
        25                 MR. LEAVELL:    Now, there is -- when Cares went
     Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 61 of 87




                                                                          17
             off line --
 2                 GENERAL KLEMMER:     Uh-huh.
 3                 MR. LEAVELL: -- we were instructed to come up
 4           with our own tracking system.
 5                 GENERAL KLEMMER: Okay.
 6                 MR. LEAVELL: Because Cares is not in effect
 7           anymore or DMARS {phonetic).         And we were told during
 8           the last inspection that we had to come up with our
 9           system.
10                 GRIEVANCE OFFICER:    (inaudible) system.
11                 GENERAL KLEMMER:     Okay.     So now, what is this
12           right here?
13                 MR. LEAVELL:    I've never seen this before.
14                 GENERAL KLEMMER: Okay.
15                 MR. LEAVELL:    This is my first time.
16                 GENERAL KLEMMER: Yeah, this is -- of course,
17           there's initials on that, and I think those are his
18           initials.
19                 MR. LEAVELL:    Right.   This is not what I -- I
20           have her to send me a
21                 GENERAL KLEMMER:     You're talking about Ms. Ealy,
22           right?
23                 MR. LEAVELL: Right.
24                 GENERAL KLEMMER: Okay.
25                 MR. LEAVELL:    Ms. Ealy.      A monthly report, but
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 62 of 87




~                                                                               18
     1            that's in an Excel format.
    2                    GENERAL KLEMMER:     Okay.
     3                   MR. LEAVELL:   That shows me what tracking has
     4           been done, where they are.
     5                   GENERAL KLEMMER:     Okay.   Now, where would --
     6           where would this come          what -- what -- what actually
     7            is this would you say?
     8                   MR. LEAVELL:   I have never seen this before at
     9           best.
    10                   GENERAL KLEMMER:     Okay.
    ll                   MR. LEAVELL: I would -- to me what this looks
    12            like is -- looks like a CQ log.        But it -- I mean

®   13            that's exactly what it looks like.
    14                   GRIEVANCE OFFICER:     Sir, grievance officer asks
    15           permission to speak.
    16                   GENERAL KLEMMER: Yeah.
    17                   GRIEVANCE OFFICER:     Sir, this Exhibit B, these
    18            tracking forms are on the front of each case file of
    19           each of the cadets, and from this tracking form, they
    20           use these forms to input the information on the Excel
    21           spreadsheet.
    22                   MR. LEAVELL:   Okay.    What I look at is the Excel
    23           spreadsheet.
    24                   GENERAL KLEMMER:     Okay, so what she      what she
    25                   GRIEVANCE OFFICER:     This -- this is -
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 63 of 87




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w                                                                               19
                        GENERAL KLEMMER: Okay.
     2                  GRIEVANCE OFFICER:     (inaudible) yeah.
     3                  GENERAL KLEMMER:     So what probably could be
     4            happening is that she's entering hers directly into
     5            the system and not putting it on this?
     6                  GRIEVANCE OFFICER:     Well, no sir.
     7                  GENERAL KLEMMER: Okay.
     8                  GRIEVANCE OFFICER:     Those are not updated.     The
     9            system on hers, she did not have any updated at all.
    10                  GENERAL KLEMMER: Okay.
    11                  GRIEVANCE OFFICER:     She stated that the system
    12            was corrupt.

@   13                  GENERAL KLEMMER: Okay.
    14                  GRIEVANCE OFFICER:     But, yet her employees were
    15            using that to change --
    16                  MR. LEAVELL:    Well she, from my understanding on
    17            that, she created -- and you can -- if you look at our
    18            systems --
    19                  GENERAL KLEMMER:     Okay.
    20                  MR. LEAVELL:       you can tell when a file has
    21            been -- it -- it's there.
    22                  GENERAL KLEMMER:     Uh-huh.
    23                  MR. LEAVELL:    The file is there.
    24                  GRIEVANCE OFFICER:     There, uh-huh.
    25                  MR. LEAVELL:    And you can tell when it's been
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 64 of 87




                                                                                 20
                 corrupted.     I mean, i t ' l l tell you that.

     2                 GENERAL KLEMMER: Yeah.

     3                 MR. LEAVELL: Who corrupted -- I       know -- I    know --

     4            I can this; on one particular weekend in August, she
     5           -- on a Friday, she showed me --because they're on the

     6           server -- she showed me Mr. Clark's Excel worksheets.

     7                 GENERAL KLEMMER: Okay.

     8                 MR. LEAVELL:     And the entries were duplicated and

     9            it was -- this is September, and it was filled out all

    10           the way to December, already, of 2013.            And when we

    II           came in Monday she showed me -- he had came in

    12            Saturday and tried to clean it up, but the date/time

0   13

    14
                  stamp was still on.     You could see it.

                       GENERAL KLEMMER: Yeah.

    15                 MR. LEAVELL:     I mean, it was right there, where
    16            he came in and tried to fix -- because she had
    17           mentioned it.     She said, "Why do you have this already

    18            filled out until December, and we're here in

    19            September?"    And he came in Saturday on his own time
    20           and tried to fix it.
    21                 GENERAL KLEMMER: Uh-huh.
    22                 MR. LEAVELL:     Prior to -- when we got in
    23           Monday -
    24                 GENERAL KLEMMER:     Okay.
    25                 MR. LEAVELL: -- you know, we -- we saw where he
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 65 of 87




                                                                                    21
                 had -- the date/time stamp was on the computer.             Now,
     2           one thing was -
     3                   GRIEVANCE OFFICER:     Can you show me in these
     4           spreadsheets (inaudible} so -
     5                   GENERAL KLEMMER: Okay.
     6                   GRIEVANCE OFFICER:           June, she didn't -- on
     7           hers she stated that.she did not have any updates.
     8                   GENERAL KLEMMER: Okay.
     9                   GRIEVANCE OFFICER:     The tracking form, matrix
    10           tracking form, that information is used to update
    11           these spreadsheets.
    12                   GENERAL KLEMMER:     Okay.     So there's potential

@   13           that
    14                   GRIEVANCE OFFICER:     Yeah, and she admitted that
    15           she had not updated them.
    16                   GENERAL KLEMMER:     Okay.    Okay.
    17                   GRIEVANCE OFFICER:     For the record; to me and
    18           Tess.
    19                   GENERAL KLEMMER:     Okay, so -- okay so -- so we've
    20           got a -- okay, so there's a -- there is an issue with
    21           updating, okay.     I      I just wanted -- I want -- what
    22            I wanted to do was to establish that.         That we -- we
    23           are lacking in -- and probably across the board --
    24           lacking in updating the matrix, and I want to just get
    25           that out for the record.        Okay.    The -- the other
          Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 66 of 87




                                                                                 22
                  question that I have is related to Mrs. Ealy's
      2           unprofessional language.          Mr. Clark complains that she
      3           often uses profanity and racial slurs in the office.
      4           Have you witnessed any of that?
      5                 MR. LEAVELL:       No, sir.
      6                 GENERAL KLEMMER: Okay.
      7                 MR. LEAVELL:       I have not.
      8                 GENERAL KLEMMER:       Okay.     All right.   And then
      9           there's several things and -- and I, you know, please
     10           forgive me up front, but I'm going to ask you some
     11           questions -
     12                 MR. LEAVELL: That's fine.

@
..   13                 GENERAL
                            .--
                       ~~-::.'~
                                ,aKLEMMER: -- that you may not like but,
                                   '   ~




     14           At any time and you~can just yes or no.             You can
     15           elaborate if you want.        At any time have you ever
     16           requested that Mr. Clark rub your back because your
     17           back was sore or anything like that?           Going back many
     18              several years ago, four years ago?
     19                 Mg~LEAVELL: Wow!        I don't know.
                         ,·,.

     20                 GENERAL KLEMMER: Okay.
     21                 MR. LEAVELL: I don't know.
     22                 GENERAL KLEMMER: Okay.
     23                 MR. LEAVELL:       Now, I      I will say this -- I will
     24           say this.       At -- at -- at the point in time that I was
     25           a recruiter, Mr. Clark and I, Mr. Berkley I mean we
           Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 67 of 87




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 -
                                                                                   23
       1           were, you know, pretty tight.
       2                    GENERAL KLEMMER: Yeah.
       3                    MR. LEAVELL:   So is that possible, that I could
       4           have said it? Yes.
       5                  . GENERAL KLEMMER:   Okay.
       6                    MR. LEAVELL:   But I don't know.     I don't know.
       7            It's -- our differences came when I became their
       8           supervisor.
       9                    GENERAL KLEMMER:   Okay.    But that's -- that's
      10            fine.     He mentioned several other items -- incidents
      II           that are -- occurred in his words about four years
      12           ago.      And I know that's a long time ago, but          and

~     13            I'll take that into consideration as well.         He
      14           mentions about showing pornography on a cell phone.
      15            Do you -
      16                    MR. LEAVELL:   No, sir, I don't.
      17                    GENERAL KLEMMER:   Don't remember?    Have you ever,
      18           in either a joking or serious manner, threatened him
      19           with a gun?      And aga~n, this goes back several years
      20           ago.
      21                    MR. LEAVELL: We've -- threatening him?      We've
      22           never had that type of -- we've never had
      23                    GENERAL KLEMMER:   Conflict, right.
      24                    MR. LEAVELL: -- right.     We've never had any
      25           conflict between us at all until I became --
 '•
             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 68 of 87




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~                                                                                        24
                             GENERAL KLEMMER:        (inaudible) but Yeah -- but it
         2           is something here four years later that he can say
         3           well I can use that?            Is that possible?
         4                   MR. LEAVELL:         Sir, I don't --
         5                   GENERAL KLEMMER:         You don't remember, okay.
         6                   MR. LEAVELL: I don't remember ever threatening
         7           anybody -
         8                   GENERAL KLEMMER:         Okay.    That's fine.     That's
         9           fine.
        10                   1MR!f~>'fLEAVELL: · _;,t.. with a weapon.
                            g,y;.eoc'··

        11                   GENERAL KLEMMER:         Okay.    Okay.     Have you -- have
        12           you -- and this is really -- this is my last question.

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'
    .   13           Have you conducted any verbal or written counseling
        14           for Ms. Ealy on anything since she has worked for you?
        15                   MR. LEAVELL:         Yes, sir.
        16                   GENERAL KLEMMER:         Okay.
        17                   MR. LEAVELL:         And I have -- I have those on file
        18           as well.
        19                   GENERAL KLEMMER:         Okay, okay.
        20                   GRIEVANCE OFFICER:         Did you want copies of them
        21           sir?
        22                   GENERAL KLEMMER: No, I just want to ask the
        23           question.            And -- and can you tell me the nature.
        24                   MR. LEAVELL: One was as when Ms. Ealy -- when Ms.
        25           Ealy first took over as supervisor, there's a lot of



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         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 69 of 87




                                                                             25
     1            -- I mean, I knew what she was faced with because Ms.
     2            Nix that just went through the same -- same thing.
     3                  GENERAL KLEMMER:    Yeah.
     4                  MR. LEAVELL:    I said, "Listen, you need to
     5            counsel these people that works with you on a monthly
     6            basis so when you get ready to do this performance
     7            evaluation, you've got this in writing."         That hadn't
     8            been done.
     9                  GENERAL KLEMMER: Okay.
    10                  MR. LEAVELL:    So that's one of the things that
    11            I've counseled her on.
    12                  GENERAL KLEMMER: Okay.

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.   13                  MR. LEAVELL:    The other thing that I would
    14            consider negative is one, them going out on the road.
    15            Because I had a staff meeting and I told PRO, "If you
    16            don't have contact within a two-month time period with
    17            your clients, I want you knocking on the door."         That
    18            hasn't happened.
    19                  GENERAL KLEMMER:    Okay.
    20                  MR. LEAVELL:    And maintaining       by the
    21            cooperative agreement, we're supposed to maintain 75
    22            percent placement for our cadets.         That hasn't
    23            happened.    So those are three things I know I've
    24            talked to her about.
    25                  GENERAL KLEMMER:    And that's under --
....        -          WCfV\e9?:?              (!,()     ~ oY~~          Ml_ tsev\C\v:]
                 Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 70 of 87                      .L.lJ \.S
. 'ff-)~)~~ p~nl\il')/fk~                          'Tb    Ml-- j>7-ekl1z} ~ J=,-,      Wl-tv\e,,SS     wit .
                Le.~e-tA. -t"'- f &-'\r'- d    1         lJ) l -Jk j \.\.V') '                          11
        1                  in the office.                I didn't think anything of it, but he
        2                  has.
        3                          GENERAL KLEMMER:              Okay.
        4                          MR. BERKLEY:             That was a couple years ago.
        5                          GENERAL KLEMMER:             And did -- back at that time,
        6                  did they have a good -- a friendly relationship would
        7                  you say or --
        8                          M~~        BERKLEY:      Not really.     The atmosphere has
        9                  always -- well, since I gotten [sic} over there
       10                          GENERAL KLEMMER:
                                          t
                                                                 Was tense, okay.      At any time,
       11                  have you seen Mr. Leavell show Mr. Clark any
       12                  pornography on Mr. Lavelle's phone?

@      13                 //Jt . MR.          B~RKLEY:      Yes, sir.
       14                          GENERAL KLEMMER:              And how long ago was that have
       15                  been?
       16                          MR. BERKLEY:             Maybe about two years ago, two
       17                  maybe three.
       18                          GENERAL KLEMMER:              Okay.    Two plus years ago,
       19                  okay.
       20                          MR.        BERKLEY:      On some traveling we were doing.
       21                          GENERAL
                                    ...'.( KLEMMER:              Okay.    All right.    And have you
       22                  seen Mr. Leavell ever threaten Mr. Clark with a gun in
       23                  a   joking or serious manner?
       24                          MR. BERKLEY:             Yes, sir.
       25                          GENERAL KLEMMER:              Okay.    How -- how --
       Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 71 of 87




                                                                        28
                                  CERTIFICATE


    STATE OF ARKANSAS      }
                           )ss
    COUNTY OF PULASKI      )

                 I, DAWN FREDERICK, Certified Court Reporter, do hereby
    certify that the foregoing 17 pages were transcribed by me to
    the best of my ability from an audio recording provided to me. I
    therefore, cannot attest to the authenticity of the recording
    nor the identity of the parties, only to the contents of the
    recording.
                 I FURTHER CERTIFY that I am neither counsel for,
    related to, nor employed by any of the parties; and further,
    that I am not a relative or employee of any attorney or counsel
    employed by the parties hereto, nor financially interested, or
    otherwise, in the outcome of this action.
                 WITNESS MY HAND AND SEAL this 31st day of December,
    2013.




                                                              \



                                   ~twnL~--tv~
                                 DAWN FREDERICK
                                 Certified Court Reporter #536




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                     Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 72 of 87
      ·i,AJ .




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                 1                  MR. BERKLEY:       That happened at the office.    It
                                                                                            12


                2             was earlier, in fact, maybe twice.
                3                   GENERAL KLEMMER:       Okay.   So --
                4                   MR--BERKLEY-:·-..._
                                    {_  .
                                                        I have witnessed that twice.
                 5                  GENERAL KLEMMER:       How long ago?
                6                   MR. __B8RKLEY:     Maybe about the same, about two,
                 7            three years ago when he was in the crew.
                 8                  GENERAL KLEMMER:      And how -- how     how did it
                 9            play out?     Was it joking or was it -
                10                  MR. BERKLEY:       Well, it started off as a joke.      It
                11            started off as a joke and then it kind of got serious.
                12            But whenever stuff kind of get serious, I'll get up
                13            and go out.
                14                  GENERAL KLEMMER:       Yeah.
                15                  MR. BERKLEY:       So -- because I don't want to
                16            witness anything or try to -- Mr. Coley (phonetic), in
                17            fact, was in there --
                18                  GENERAL KLEMMER:       Okay.
                19                  MR.     BERKLEY:       during the times, so --
                20                  GENERAL KLEMMER:       Okay.
                21                  MR. BERKLEY:          I don't remember exactly how it
                22            panned out, but I do remember
                23                  GENERAL KLEMMER:       Okay.
                24                  MR. BERKLEY:          that it kind of got a little
                25            tense .



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                   Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 73 of 87


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                                  GENERAL KLEMMER:
                            or somet!J,.,~!l-9:J.~ke
                                 ~,~;,.y_. .-.-. . . .
                                                           Okay.
                                                       that or
                                                                      They got in an argument
                                                                                                13




               3                  MR. BERKLEY:        It was kind of like an argument.
               4            George didn't take it too well
               5                  GENERAL KLEMMER:         Okay.
               6                  MR. BERKLEY:            with that, you know, with the
               7            gun playing, joking.          He didn't take it too well, so.
               8                  GENERAL KLEMMER:         Okay.      Okay.   But he did     do
               9            you know if he ever complained to anybody about it
           10               or
           11                     MR. BERKLEY:        He's mentioned --
           12                     GENERAL KLEMMER:         I mean to you, other than you?
           13                     MR. BERKLEY:        No, no, to Mr. Coley.
€)
 ;



           14                     GENERAL KLEMMER:         Okay.
           15                     GRIEVANCE OFFICER:             Mr. Coley was the then
           16               supervisor.
           17                     MR. BERKLEY:        Uh-huh.
           18                     GENERAL KLEMMER:         Okay.      Okay.   And the next
           19               questions are going to be concerning just a couple
          20                things concerning Ms. Ealy regarding her                 her work
          21                attendance.      Did she come in late often?
          22                                (No audible response)
          23                      GRIEVANCE OFFICER:              Speak on the record.
           4
         ,/2                      GENERAL KLEMMER:          How often?
     /
 I        25                      MR. BERKLEY:         Yes, yes, yes, sir.
          Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 74 of 87




                                                                                  26
                  understandable because that's just your role as a
     2            supervisor.    That's what you do, okay.

      3                  MR. LEAVELL:   And -- and      and I will say a lot

      4           of things that they don't see
      5                  GENERAL KLEMMER: Uh-huh.
      6                  MR. LEAVELL: -- they don't know.
      7                  GENERAL KLEMMER:    Right.   Yeah, and that's --

      8           that's part of -- perception is part of the problem,

      9           so.    Those are all my questions.      Do you have any
     IO           questions of me or anything you want to ask?

     11                  MR. LEAVELL:   Just one thing.     A lot of -- a lot

     12           of -- I mean, we're going back four years in some

@)   13           cases.     If there's a problem, don't -- if you've got
     14           time to document all this stuff, when was you doing

     15           your job for one.     For two, if you have a problem with
     16           something at the moment, at the time it happened --
     17                  GENERAL KLEMMER: Uh-huh.
     18                  MR. LEAVELL:       that's when you should raise
     19           that issue.    Three, I think this office is being used
     20           as a escape [sic] goat.      Because, I mean, so many
     21           times and not just with Mr. Clark, but so many times
     22           all I hear -- and not even from my section, from other
     23           sections -- I'm going DSR, I'm going --       r·   don't know
     24           if this office was created for that type of role or
     25           not.     But when I read in the thing -- and it does talk
             Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 75 of 87




                                                                                 27
                     about sexual harassment and discrimination, I read
         2           that.
         3                   GENERAL KLEMMER: Uh-huh.
         4                   MR. LEAVELL:    But a lot of things that should be
         5           solved by the chain of command, the chain of command
         6           isn't even aware about.
         7                   GENERAL KLEMMER:     Right.
         8                   MR. LEAVEIL:   Aware of.      And -- and to me that's
         9           a

        10           GENERAL KLEMMER: Uh-huh.
        11                   MR. LEAVELL:       that's a problem.
        12                   GENERAL KLEMMER: Well, I -- I appreciate the

    @   13           input with that.       and -- and -- and again, the time
        14           line, you know, this being four years ago definitely
        15           is taken into consideration so.
        16                   MR. LEAVELL: And I -- one more thing for the
        17           record.     I think -- I don't even think this grievance
        18           would have been filed had he got his way on his
        19           performance.     Timing is suspect should I say.
        20                   GENERAL KLEMMER: Okay.        Is that it?
        21                   MR. LEAVELL:   That's all I have.
        22                   GENERAL KLEMMER: Thank you very much.
        23                   GRIEVANCE OFFICER:     Thank you, We're off the
        24           record.
        25                            END OF RECORDING



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      Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 76 of 87




July 2, 2019



        The Youth Challenge Principle (Mr. O'Leary) came to our PRO
office and Quoted "Some of these Kids can't think past their DICKS" Mr.
O'Leary was very loud, when making that statement. Mr. Hugh Leavell
didn't confront Mr. O'Leary about his language. Co- workers Mr. Todd
Nodurfth and Mrs. Christina Raatz witness Mr. O'Leary statement.
         Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 77 of 87




                                                  493-2019-01328
July 16, 2019


Mr. Phillips,

        During a staff meeting, which started at 9:00 am. Supervisor
Hugh Leavell stated, if people not happy here find employment

Elsewhere.

         It making it a hostile working environment for the department.

Supervisor Mr. Leavell comments were towards me. Mr. Leavell
continue to retaliate and harass me. Once again he stated a meeting
with individual staff will take place soon, with him.



George R. Clark
          Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 78 of 87




July 16, 2019                                           493-2019-01328



       Mr. Phillips,
                I meant to give you this statement, when we had our
meeting on the ninth of July 2019. The Youth Challenge Principle {Mr.
O'Leary) exact words on July 2, 2019. Mr. O'Leary is also a white male.

                Please see attachment:



  George R. Clark


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                    Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 79 of 87

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                                            August 12, 2019



               Rita Barnes

               EEOC

               820 S Louisiana Street Number 200
               Little Rock, AR 72001

               Re Charge: 493-2019-01328

               August 12, 2019
               Position Statement Reply

               George R. Clark

               Career Planner & Placement Specialist

               Arkansas Youth Challenge Program Bldg. 16416

               Position Statement Reply EEOC Charge# 493-2019-01328

                                       Current Charge

                             I was hire as a cadre in 2004, then to a case manager in
               2006. I had three Grievance hearings, which Mr. Hugh Leavell and Mrs.
               Regina Ealy was removed from PRO building. (2014) they were moved
               for creating a hostile working environment and harassing me.

                             On January 30, 2019 I e-mailed Mr. Joe Mallett and CC.
               Mr. Christopher Stanger also Mr. Billy Ward. Mr. Stanger called for Mr.
               Mallett and me to his office. When entering his office, the first words
               he quoted. I know how to get some attention. I replied, I am trying to
               protect my job. By putting Mr. Leavell over me once again.
        Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 80 of 87




                         Retaliation # 493-2017-01191



              Please see exhibits A through G




                             Racism and Race

  July 3, 2019

  The principle came to our office quoting, you know this kid can't
think past their DICkS. He is a white male. Mr. Leavell didn't say
nothing to him at all. Mr. O'Leary was very loud. Witness by other in
office Mrs. Christy Raatz and Todd Nordurfth.

       May 24, 2019

      Mr. Todd Nordurfth (case manager) refused an order to drive
families from the front gate to Youth Challenge grounds. Mr. Leavell
stated you need to follow orders and Mr Leavell stated the orders came
from Mr. Mallett and Mr. Ward. Mr. Nordurfth told Mr. Leavel.l.J don't
care who told you. I not driving and get you're other staff to drive. Mr.
Nordurfth is a (white male). No verbal or written write up.

         Mrs. Christy Raatz is a case manager {white female) state Mr.
Leavell has seen her in tennis shoes on several occasion. No verbal or
write ups.
        Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 81 of 87




                                           Conclusion

                 I was written up for not meeting with Mr. Leavell
Supervisor {Mr. Ward} On July 26 2019 I was written up for not going
through chain of command.
              .   -~    -.
                             I went to Mr. Mallet
                                       '   .  ~
                                                  to explain my child
had a dentist appointment for July 29. 2019. Mr. Leavell ordered me to
take a cadet on the July 29, 2019. My dentist called me on the 26 of
July. To remind me of appointment. JFK verified with Mr. Mallett the
time and date. Mr. Ward which is Mr. Leavell supervisor was on
 vacation from July 22, 2019 through July 26, 2019. My next chain of
 command was Mr. Mallett. \'If\~ MA-t\et'tl ' 5 ~ ~ :r To \J \h~ 14'            .
  r'tti- wf\-<Ld- w\4-S o(f ¼e d-~ of2- J~\~ a.c;,·c9n1q. Mr- Mlo/lle.ir- sr T~~
on f\.~1<sr 0\ 1ct0lq I have been subJected td retaliation, harassment and
 Hostile work environment. Mr. Leavell show workplace violence the
 afternoon by beating on my cubicle shouting Mr. Clark, beating several
 times on my door. My coworker could not believe it. I have been threat
 on with a gun in the past. Mr. Leavell made me fear him. Witness by
 Ms. Edwards, Mr. Berkley, and Mrs. Raatz I am currently in Therapy for
his action.




             The Grievance officers Ms. Flowers and Terresa Galbraith
are witness for the past retaliations and harassment of Mr. Leavell
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        Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 82 of 87




                                         Smoking Policv

Smoking and/or use of smokeless tobacco is prohibited inside all buildings, hangars, lounges,
vehicles, and aircraft owned or operated by the Arkansas Anny or Air National Guard.
Additionally, the use of any tobacco product is banned within 25 feet of the entrances         of all
buildings and hangars. All buildings will have signs posted at the entrances indicating that smoking
and the use of smokeless tobacco is prohibited except in designated areas.

Commanders and supervisors will designate "outdoor tobacco use areas," which are reasonably
accessible to provide a measure of protection from the elements, when possible. Tobacco use areas
should be outdoors and away from common points of ingress and/or egress of National Guard
facilities. It will not be in front of a building or near the intake ducts.

                                       \Vorkplncc Violence

People arc our most impo1tant resource. With that in mind, the Arkansas Military Department is
committed to our employees· health and safety. Violent and/or harassing or threatening behavior
in the workplace, which hanns or instills fear in others, is an unacceptable way of dealing with
problems no matter how severe the problems may be. We must not only safeguard our workforce
from overt acts of violence, but also from harassment, intimidation and threats which adversely
affect employee morale, workforce well-being and workforce efficiency.

There will be "Zero Tolerance" in the Arkansas Military Department for disruptive behavior.
"Zero Tolerance" means swift and appropriate disciplinary action against personnel engaging in
violent or criminal acts. Harassing, intimidating, and/or threatening words or acts which cause
fear in others will not be tolerated. No person who makes a threat or commits a violent act should
expect to maintain privacy in those areas that need investigating to assure a safe work environment.

You have the responsibility to utilize the chain of command in notifying supervisors of any threats
that you have witnessed, received, or heard about from another person. You should also alert your
superior of any behavior you have witnessed which you regard as threatening, intimidating.
harassing, or violent which adversely affects employee morale, workforce well-being, and
workforce efficiency. Upon investigation, superiors will take appropriate action to resolve the
issue. Moreover, you may notify police or security officers in the event of criminal behavior.
Criminal behavior will be prosecuted to the fullest extent of the law.

                                    Reduction in Force Policv

It may become necessary to transfer, reassign, relocate or lay off employees due to a lack of funds,
curtailment of work, changes in the delivery of program services, discontinuance of programs
and/or positions, or for other reasons. Should any of these conditions occur the State Military
Department shall make the determination as to whether the circumstances or conditions warrant a
Reduction-In-Force {RIF) action and a RIF Procedure shall be implemented.




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       Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 83 of 87




10/30/19                                             493-2019-01328



Mr. Rodney Phillips,

           One of my coworker Mrs. Christina Raatz (white female) she
is wearing tennis shoes today and Supervisor Hugh Leavell haven"t .
written her up or gave her verbal warning. On June 5 2019, I was
written up for wearing tennis shoes for one day, because of foot injury.

        I tried to explain to Human Resources Director Mr. Christopher
Stanger about foot injury, His reply was I should have went to the
doctor. My coworker Mrs. Raatz have worn tennis shoes on several
occasions without no discipline. Human Resources and Mr. Leavell
continues to retaliate against me, which effects my health and mental
state. I continue to have Therapy visits with Therapist Mr. Jentry
Tilman. My only two write ups ever in fifteen years have been from Mr.
Leavell. The retaliation is from the past, when Mr. Leavell was found
guilty of creating a Hostile environment and harassing me, Also his
removal from PRO Building in year 2006. Once again, Mr. Leavell have
convinced the new Humane Resources Director Mr. Stanger, the Youth
Challenge Director Mr. Mallett that I am a disruptive employee. My
grievance hearings transcripts I submitted is telling the truth.
Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 84 of 87


          Ms           "Flowers
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            v.        Relief

                       State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
                       arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
                       the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
                       punitive or exemplary dam',es claimed, the amounts. and the reasons you claim you are entitled to actual or
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                       punitive money damages.

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            VI.        Certification and Closing

                       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
                       and belief that this complaint: (I) is not being presented for an improper purpose, such as to harass, cause
                       unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
                       nonfrivolous argument for extending. modifying, or reversing existing law; (3) the factual contentions have
                       evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
                       opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
                       requirements of Rule I I.

                       A.         For Parties Without an Attorney

                                  I agree to provide the Clerk's Office with any changes to my address where case~·· related papers may be
                                  served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                                  in the dismissal of my case.

                                  Date of si1mine:

                                  Silmature of Plainiiff
                                  Printed Name of Plaintiff



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             l Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction


                       B.         For Attorneys

                                  Date of sie.ning:


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                                  Printed Name of Attornev
                                  Bar Number
                                  Name of Law Firm
                                  Street Address
                                  State and Zio Code
                                  Teleohone Number
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                            E-mail Address




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        Case 4:20-cv-00769-BSM Document 1 Filed 06/19/20 Page 87 of 87
                       U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                      Little Rock Area Office
                                                                                       820 Louisiana St., Suite 200
                                                                                           Little Rock, AR 7220 I
                                                                        Intake Information Group: (800) 669-4000
                                                                   Intake Information Group TTY: (800) 669-6820
                                                                                             FAX (501) 324-5991
                                                                                          Website: www.ceoc.gov
March 31, 2020

George Clark III
3907 Hillside Drive
North Little Rock, AR 72118

Re:    Clark v. Arkansas Military Department
       EEOC Charge No.: 493-2019-01328

Dear Mr. Clark:

The purpose of this letter is to advise you of the evidence obtained in the investigation of your
charge of discrimination. On July 30, 2019, a copy of the Respondent's position statement was
electronically sent to you. After receiving your response, all evidence collected during the
investigation was thoroughly reviewed. The investigation revealed the following facts:

You alleged you were subjected to a hostile work environment, harassed, disciplined, given
additional duties, and reassigned a previous harasser in retaliation for filing a previous
complaints/EEOC charges; and you alleged you were disciplined because of your race (Black); all
in violation of Title VII of the Civil Rights Act of 1964, as amended.

The evidence shows you filed previous EEOC charges in September 2013 and February 2014-
both resulted in no-cause findings and Rights to Suits being issued in December 2014.
Furthermore, Respondent met with you to discuss Hugh Leavell (Black) becoming your supervisor.
Your complaint was against Regina Ealy, not Hugh Leavell. Respondent asserts you have refused
to allow them to copy documents you are referencing that Hugh cannot be your supervisor as all
their documents for 2014 were destroyed. Additionally, evidence shows you were given a verbal
warning for violation of dress code and not having respectful interaction by someone of the same
race as you. The EEOC is unable to conclude that there was a violation under the laws we enforce.

If you have additional documentation which will refute the above evidence, it must be provided in
writing via email ONLY to rodney.phillips@eeoc.gov within 10 days of the date of this letter.
Otherwise, you will be notified of the Director's determination in this matter by mail. The
Director's determination will conclude the processing of this charge by EEOC, but you will have
the right to pursue the matter by filing in Federal District Court. If you decide to sue, you must do
so within 90 days from your receipt of the Dismissal and Notice of Rights; otherwise, your right
to sue is lost.

Sincerely,

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Rodney Phillips
Federal Investigator
